Case 2:04-cv-02646-.]DB-dkv Document 37 Filed 05/05/05 Page 1 of 2 Page|D 47

IN THE UNITED STATES DISTRICT COURT Fll,E`D !:`a"t‘ ,

FoR THE WESTERN DISTRICT oF TENNESSEE _ w , ma 6_ EE
wEsTERN DIVIsIoN 95 ssi *5 - ~»

 

 

RICHARD E. SHERMAN and
RICHARD A. MATTA, JR.,

Plaintiffs,
v. No. 04-2646-B/V

TESCO EQUIPMENT, LLC and
TESCO HI-LIFT, INC.,

Defendants .

 

ORDER OF REFERENCE

 

Before the court is the motion of Defendants, Richard C. Traficant, Jr., Charles Traficant
and Deborah Traficant, for Relief from Order filed on April 25, 2005. This motion is construed
by the undersigned to be a motion for reconsideration of the Order Denying Motion to Intervene
entered by Magistrate Judge Diane K. Vescovo on April 15, 2005.

This motion is referred to the United States Magistrate Judge for determination Any
objections to the magistrate judge’s order shall be made Within ten (10) days after service of the
order, setting forth particularly those portions of the order objected to and the reasons for the
objections Failure to timely assign as error a defect in the magistrate judge’s order Will
constitute a Waiver of that objection. w Rule 72(a), Federal Rules of Civil Procedure.

T\
IT Is so oRDEREDthiS 7 d OfMay, 2005.

 

J. DANIEL BREEN
NI D STATES DISTRICT JUDGE
Thls document entered on the docket/sheet in compliance
with nme ss and/or 79(3) FHCP on ,3 1906

 

May 5, 2005 to the parties listed.

F TNNEESSEE

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John R. McCarroll

BASKIN MCCARROLL MCCASKILL & CAl\/[PBELL, P.A.

P.O. Box 190
Southhaven7 MS 38671

Jamie W. HoWell

GILDER HOWELL & ASSOCIATES, P.A.
7090 Malco Blvd.

Ste. ll l

Southaven, MS 38671

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SPICER FLYNN & RUDSTROM
80 Monroe Ave.

Ste. 500

l\/lemphis7 TN 38103--246

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7090 Malco Blvd.

Ste. ll l

Southaven, MS 38671

John B. Turner

BASKIN MCCARROLL MCCASKILL & CAl\/[PBELL, P.A.
P.O. Box 190

Southaven, MS 38671

Honorable J. Breen
US DISTRICT COURT

